No answer having been made by the defendants, but it appearing that since the filing of this action said defendants have paid to said Retirement Board the sum of $885.00, leaving a balance of $503.50 due from said defendants to said Retirement Board, the court find that as to said balance of $503.50 the relator is entitled to have said writ made peremptory.
It is therefore ordered that peremptory writ of mandamus issue against the said defendants for the performance of the act heretofore alternatively ordered, and that immediately upon the service of this writ said defendants be required to pay over and transmit to said Retirement Board said sum of $503.50.
Writ allowed.
MARSHALL, C.J., JONES, MATTHIAS, DAY, ALLEN and KINKADE, JJ., concur.
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